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                                                                  3                                       UNITED STATES DISTRICT COURT
                                                                  4                                   NORTHERN DISTRICT OF CALIFORNIA
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                                                                      FIDELITY NATIONAL TITLE INSURANCE                  Case No.: 11-CV-896 YGR
                                                                  7
                                                                      COMPANY, et al,
                                                                                                                         ORDER TO SHOW CAUSE RE: SANCTIONS
                                                                  8                                                      AGAINST DEFENDANT JAMES C. CASTLE AND
                                                                                   Plaintiffs,                           COUNSEL ANN MCFARLAND DRAPER
                                                                  9
                                                                             vs.
                                                                 10

                                                                 11   JAMES C. CASTLE AKA J. CHRISTOPHER
                                                                      CASTLE, et al,
                                                                 12
                                                                                    Defendants.
                               Northern District of California
United States District Court




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                                                                 14          TO DEFENDANT JAMES C. CASTLE AKA J. CHRISTOPHER CASTLE (“CASTLE”) AND HIS
                                                                 15   COUNSEL OF RECORD, ANN MCFARLAND DRAPER (“DRAPER”):

                                                                 16          You are ORDERED TO SHOW CAUSE why you should not be sanctioned in the amount of
                                                                 17   $250.00 for failure to comply with this Court’s oral order on January 13, 2013, and written order of
                                                                 18   January 27, 2014 (Dkt. No. 579) and for failure to appear at the compliance hearing held February 7,
                                                                 19   2014, at 9:01 a.m. Hearing on the Order to Show Cause is set for Friday, February 14, 2014, at
                                                                 20   9:01 a.m. in Courtroom 5, Federal District Court, 1301 Clay Street, Oakland. The hearing will only
                                                                 21   be continued upon independent verification that Draper is physically in session in a jury trial in
                                                                 22   another courthouse. All other parties’ appearances are waived.
                                                                 23          At the case management conference held on January 13, 2014, the Court directed Draper,
                                                                 24   counsel for Castle, to submit to the Court the stipulated protective order, agreed upon by the parties

                                                                 25   present and essential to the resolution of pending discovery disputes, no later than Friday, January

                                                                 26   17, 2014. Draper failed to do so.

                                                                 27          The Court then issued its January 27, 2014 Order requiring the parties to submit, no later than

                                                                 28   January 31, 2014: (a) a proposed form of stipulated protective order; or (b) a joint status report on the
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                                                                  1   stipulated protective order. The January 27 Order also set a compliance hearing for February 7,
                                                                  2   2014, at 9:01 a.m. The parties failed to submit a written response prior to the compliance hearing.
                                                                  3   While counsel for Plaintiffs, counsel for Defendant Prudential Realty, and pro se Defendant Evan
                                                                  4   Timmel appeared at the compliance hearing, Draper failed to appear or to request to appear by
                                                                  5   phone.

                                                                  6            Thus, Draper and Castle have failed to comply with multiple Court Orders and Draper’s

                                                                  7   conducted has resulted in the unnecessary appearances of other parties. Moreover, the January 27,

                                                                  8   2014 Order warned the parties that failure to comply could result in imposition of sanctions.

                                                                  9          IT IS SO ORDERED.
                                                                      Date: February 11, 2014
                                                                 10                                                      ____________________________________
                                                                 11                                                            YVONNE GONZALEZ ROGERS
                                                                                                                          UNITED STATES DISTRICT COURT JUDGE
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                               Northern District of California
United States District Court




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